                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            DOCKET NO. 3:07-cr-00119-4
 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         vs.                                        )                   ORDER
                                                    )
 (4) ALFREDO HOMES SUSI,                            )
                                                    )
                Defendant.                          )
                                                    )

       THIS MATTER is before the Court sua sponte as to the status of defense counsel’s

procurement of local counsel. Following a hearing on February 11, 2008, Magistrate Judge David

C. Keesler orally granted defense counsel George Young’s Motion for Leave to Appear Pro Hac

Vice with the specific condition that Mr. Young obtain local counsel in this matter. The local

counsel requirement was necessary, in the Court’s opinion, as a result of the various issues raised

in the Government’s challenge to Mr. Young’s pro hac vice motion. Nevertheless, no notice of

appearance has been filed by local counsel in this case.

       Therefore, the Court ORDERS Mr. Young to immediately obtain local counsel and file an

appropriate notice of appearance. Failure to do so prior to the docket call set for Monday, March 31,

2008, at 2:00 p.m. may result in a finding of contempt of court against Mr. Young and subject him

to a monetary fine for each day that he fails to comply with this Order.

       IT IS SO ORDERED.
                                                    Signed: March 28, 2008




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